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                    UNITED STATES DISTRICT COURT
                    WESTERN DISTRICT OF MICHIGAN
                           SOUTHERN DIVISION
_____________________________________

JOSHUA BLANCHARD,
                Plaintiff,                      Case No. 22-cv-539

                                                Hon.

v.




EXECUTIVE OFFICE FOR
UNITED STATES ATTORNEYS,
                  Defendant.

________________________________________________________________________/


         COMPLAINT FOR DECLARATORY AND INJUNCTIVE RELIEF

        NOW COMES the plaintiff, Joshua Blanchard, by and through

BLANCHARD LAW and states as follows:

     1. This is an action under the Freedom of Information Act (“FOIA”), 5 U.S.C. §

        552 et seq., for declaratory, injunctive, and other appropriate relief, and

        seeking the expedited processing and release of agency records requested by

        Plaintiff, Joshua Blanchard, from the Executive Office for United States

        Attorneys (“EOUSA”).

     2. Plaintiff brings this action to compel Defendant to make available for public

        inspection and copying a recusal memorandum submitted by United States

        Attorney Mark Totten relating to his recusal from the prosecution of the

        defendants in United States v Fox, et al, 20-cr-183-RJJ as well as any


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   document appointing counsel other than Mr. Totten, pursuant to 28 USC

   §515, to prosecute the defendants.

                                  PARTIES

3. Plaintiff is a resident of the Western District of Michigan.

4. Defendant EOUSA, headquartered at 950 Pennsylvania Avenue, N.W.,

   Washington, D.C. 20530, is a component of DOJ and an agency of the federal

   government within the meaning of 5 U.S.C. § 551 and 5 U.S.C. § 552(f) that

   has possession, custody, and/or control of records that Plaintiff seeks.

                       JURISDICTION AND VENUE

5. This Court has subject matter jurisdiction over this action and personal

   jurisdiction over Defendants pursuant to 5 U.S.C. § 552(a)(4)(B) and 28

   U.S.C. § 1331.

6. Venue lies in this district under 5 U.S.C. § 552(a)(4)(B).

                                    FACTS

7. Mark Totten is the current United States Attorney for the Western District of

   Michigan.

8. Mr. Totten has been recused from participation in the prosecution of the

   defendants in United States v. Fox, et al. 1:20-cr-00183-RJJ, PageID.6955.

9. On information and belief, the recusal was at Mr. Totten’s request.

10. On information and belief, a memorandum exists detailing Mr. Totten’s

   request to be recused because DOJ policy required Mr. Totten to draft such a

   memorandum to request his recusal. See USAM §3-2.170 (requiring the US




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   Attorney to submit a written recusal request memorandum when recusal is

   required).

11. On information and belief, some document exists which appoints Mr. Daniels,

   Mr. O’Connor, and Mr. Kessler to continue the prosecution of the defendants

   in United States v. Fox. See 28 USC §515 (requiring specific direction from

   the Attorney General to authorize a special appointment to conduct criminal

   proceedings).

12. On May 10, 2022, Plaintiff filed a request pursuant to FOIA (“FOIA

   Request”) with the EOUSA requesting a copy of

         “Any letter, memorandum, correspondence, or other
         writing requesting that special counsel be appointed to
         prosecuted crimes within the Western District of Michigan
         or explaining the basis for United States Attorney Mark
         Totten's recusal from any case, including, United States v
         Fox et al.

         Any appointment letters or other documents which grant
         authority to Donald Daniels, Nils Kessler, or Christopher
         O'Connor to conduct criminal prosecutions in the Western
         District of Michigan pursuant to 28 USC §515. (Date Range
         for Record Search: From 04/01/2022 To 05/10/2022)”

13. As of filing, the Plaintiff’s FOIA request has been pending with EOUSA for

   23 working days, excepting Saturdays, Sundays, and legal holidays. See 5

   USC §552(6)(A)(i).

14. As of filing, Defendant has not responded to Plaintiff’s FOIA request as

   required by law.




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                     COUNT 1: VIOLATION OF FOIA

    FOR FAILURE TO COMPLY WITH STATUTORY DEADLINES

15. Plaintiff incorporates the preceding paragraphs by reference.

16. Defendant is an agency subject to FOIA. 5 USC §552(f).

17. The FOIA Request properly seeks records that are in possession, custody, or

   control of the defendant agency.

18. The FOIA Request complied with all agency regulations pertaining to FOIA

   requests.

19. Defendant failed to make a determination regarding the FOIA Request and

   within the statutory deadlines as required by FOIA. 5 USC § 552(a)(6)(A).

20. The failure of Defendant to make a determination with respect to the FOIA

   Request within FOIA’s statutory deadlines violates its obligations under

   FOIA. 5 U.S.C. § 552(a)(6)(A).

21. Plaintiff is deemed to have exhausted applicable administrative remedies

   with respect to the FOIA Request. 5 U.S.C. § 552(a)(6)(C)(i).

                     COUNT 2: VIOLATION OF FOIA

      FOR UNLAWFUL WITHHOLDING OF AGENCY RECORDS

22. Plaintiff incorporates the preceding paragraphs by reference.

23. Defendant is an agency subject to FOIA. 5 U.S.C. §§ 552(f), 551.

24. The FOIA Request properly seek records under FOIA that are within the

   possession, custody, and/or control of Defendant.

25. The FOIA Request complied with all applicable regulations regarding the

   submission of FOIA requests.


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   26. Defendant has not released any records or portions thereof in response to the

      FOIA Request.

   27. Defendant has not cited any exemptions to withhold records or portions

      thereof that are responsive to the FOIA Request.

   28. Defendant has not identified how disclosure of each of the records or portions

      thereof sought by the FOIA Request would foreseeably harm an interest

      protected by a FOIA exemption and/or why disclosure is prohibited by law. 5

      U.S.C. § 552(a)(8)(A).

   29. Records responsive to the FOIA Request are required to be released under

      FOIA.

   30. Defendant has improperly withheld agency records responsive to the FOIA

      Request, in violation of FOIA. 5 U.S.C. § 552(a)(3)(A).

   31. Plaintiff is deemed to have exhausted applicable administrative remedies

      with respect to the FOIA Request. 5 U.S.C. § 552(a)(6)(C)(i).

WHEREFORE, the Plaintiff respectfully requests this Court:

   A. order Defendant to conduct a search reasonably calculated to identify all

      records responsive to the FOIA Request;

   B. enjoin Defendants from withholding all records or portions thereof responsive

      to the FOIA that may not be withheld under FOIA;

   C. issue a declaration that Plaintiff is entitled to disclosure of the requested

      records;




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   D. issue a declaration that the failure of Defendant to provide a timely

      determination in response to the FOIA Request violates their obligations

      under FOIA;

   E. award Plaintiff reasonable attorney fees and costs reasonably incurred in this

      action pursuant to 5 U.S.C. § 552(a)(4)(E); and

   F. grant such other relief as the Court may deem just and proper.


                                       Respectfully Submitted,
                                       BLANCHARD LAW


Dated: June 13, 2022                   /s/ Joshua A. Blanchard
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